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 1 Brendan P. Glackin (SBN 199643)                 Brian C. Rocca (SBN 221576)
 2 David N. Sonnenreich (pro hac vice)             brian.rocca@morganlewis.com
   dsonnenreich@agutah.gov                         MORGAN, LEWIS & BOCKIUS LLP
 3 OFFICE OF THE UTAH ATTORNEY                     One Market, Spear Street Tower
   GENERAL                                         San Francisco, CA 94105-1596
 4 160 E 300 S, 5th Floor                          Telephone: (415) 442-1000
   Salt Lake City, UT 84114-0872
 5 Telephone: 801-366-0260                         Daniel M. Petrocelli, (SBN 97802)
                                                   dpetrocelli@omm.com
 6 Counsel for Utah and the Plaintiff States       O’MELVENY & MYERS LLP
                                                   1999 Avenue of the Stars, 7th Fl.
 7                                                 Los Angeles, CA 90067-6035
                                                   Telephone: (310) 553-6700
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 9                                                 Counsel for Defendants Google LLC et al.

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12                               UNITED STATES DISTRICT COURT

13                            NORTHERN DISTRICT OF CALIFORNIA
14
                                      SAN FRANCISCO DIVISION
15

16
      IN RE GOOGLE PLAY STORE
      ANTITRUST LITIGATION                           Case No. 3:21-md-02981-JD
17

18    THIS DOCUMENT RELATES TO:
                                                     STIPULATION AND [PROPOSED]
19                                                   ORDER RE: DOCUMENTS GOOGLE
      State of Utah et al. v. Google LLC et al.,
                                                     PRODUCED TO THE STATES IN
      Case No. 3:21-cv-05227-JD
20                                                   RESPONSE TO CIVIL
                                                     INVESTIGATIVE DEMANDS
21
                                                     Judge: Hon. James Donato
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                        STIPULATION AND [PROPOSED] ORDER RE: DOCUMENTS GOOGLE
                               PRODUCED TO THE STATES IN RESPONSE TO CIDs
                                  Case Nos. 3:21-md-02981-JD & 3:21-cv-05227-JD
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 1          WHEREAS, Defendants have represented that they will produce, by October 12, 2021, to

 2   the non-State Plaintiffs (the “Private Plaintiffs”) all documents returned by the application of the

 3   search terms Defendants and the Private Plaintiffs have negotiated for use in this Action to all

 4   documents Defendants produced to the States in response to the CID issued by Nebraska on

 5   January 17, 2020, and to all documents Defendants produced to the States in response to the CID

 6   issued by Utah on July 31, 2020, without any further review or culling by Defendants (the “New

 7   MDL Production”) with exception of de-duplication against documents already produced in this

 8   MDL;
 9          NOW, THEREFORE, the Defendants and the Plaintiff States hereby stipulate and agree,

10   subject to the Court’s approval, as follows:

11          1.      To expedite production of the above-referenced materials, Defendants will

12                  designate the documents produced pursuant to this Stipulation as HIGHLY

13                  CONFIDENTIAL -- ATTORNEYS’ EYES ONLY under the operative Protective

14                  Order, subject to all Parties’ rights to challenge a designation of confidentiality as

15                  permitted under the operative Protective Order;

16          2.      Defendants and States will agree on an appropriate form of (a) Bates stamping the

17                  documents produced pursuant to this Stipulation, and (b) a report and/or metadata

18                  fields to be provided by Defendants to States that permits the States to map

19                  documents produced in response to the above-referenced CIDs to those

20                  documents produced in the New MDL Production as well as those documents

21                  withheld from the New MDL Production as duplicates of the pre-existing MDL

22                  production;

23          3.      To the extent the States seek to use in the MDL a document produced by

24                  Defendants in response to a civil investigative demand (the “CID Documents”)

25                  that was not produced by Defendants during discovery in the MDL, the CID

26                  Document should be produced in accordance with the following protocol:

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                        STIPULATION AND [PROPOSED] ORDER RE: DOCUMENTS GOOGLE
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 1           a. The States shall not “dump” the CID Documents in the MDL or otherwise

 2              give unfettered access to the CID Documents to the Private Plaintiffs;

 3           b. The States may produce to the Private Plaintiffs CID Documents which the

 4              States believe in good faith are reasonably related to their claims or

 5              Defendants’ defenses in the MDL, and which the States reasonably believe

 6              may be used as evidence or as the basis for expert testimony in this MDL;

 7           c. The States shall provisionally label the CID Document with the highest level

 8              of protection under the operative protective order prior to disclosing or using
 9              the document, as follows: “PROV – HIGHLY CONFIDENTIAL –

10              ATTORNEYS’ EYES ONLY” unless third-party information requires a

11              “PROV – NON-PARTY HIGHLY CONFIDENTIAL – OUTSIDE

12              COUNSEL EYES ONLY” designation;

13           d. The States shall assign the CID Document a Bates number specific to the

14              MDL, while preserving the Bates numbering associated with the document as

15              produced in response to the CID;

16           e. For purposes of preserving the rights and obligations under the operative

17              protective order, Google shall be considered the Designating Party and/or

18              Producing Party for any CID Document produced pursuant to this protocol.

19           f. The States shall produce the CID Document simultaneously to all parties to

20              the MDL. For the avoidance of doubt, this requirement does not apply to CID

21              Documents produced by Defendants during discovery in the MDL, including

22              CID Documents eliminated from the New MDL Production as duplicates of

23              the pre-existing MDL production.

24   4.      In the event the States determine that significant numbers of relevant CID

25           Documents have not been captured in Defendants’ production of CID Documents

26           to the Private Plaintiffs, such that efficient cooperation among the plaintiffs has

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 1                been impeded, the States shall have the right to move for a modification of the

 2                above procedures following a meet-and-confer with Defendants.

 3        5.      Nothing in this Stipulation shall be deemed a waiver of Defendants’ right to seek

 4                a clawback of a document based on a good faith claim of attorney-client privilege

 5                or work product protection.

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 7        IT IS SO STIPULATED.

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     Dated: September 20, 2021                  OFFICE OF THE UTAH ATTORNEY
 9                                              GENERAL
10                                                Brendan P. Glackin

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                                                Respectfully submitted,
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                                                By:       /s/ Brendan Glackin
13
                                                          Brendan P. Glackin
14
                                                Counsel for Utah and the Plaintiff States
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16

17   Dated: September 20, 2021                  MORGAN, LEWIS & BOCKIUS LLP
                                                  Brian C. Rocca
18
                                                  Sujal J. Shah
19                                                Michelle Park Chiu
                                                  Minna L. Naranjo
20                                                Rishi P. Satia

21
                                                Respectfully submitted,
22

23                                              By:       /s/ Brian Rocca
                                                          Brian C. Rocca
24
                                                Counsel for Defendants Google LLC et al.
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                      STIPULATION AND [PROPOSED] ORDER RE: DOCUMENTS GOOGLE
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 1    Dated: September 20, 2021                    O’MELVENY & MYERS LLP
                                                     Daniel M. Petrocelli
 2                                                   Ian Simmons
                                                     Benjamin G. Bradshaw
 3                                                   Stephen J. McIntyre
 4

 5                                                 Respectfully submitted,

 6
                                                   By:       /s/ Daniel Petrocelli
 7                                                           Daniel M. Petrocelli

 8                                                 Counsel for Defendants Google LLC et al.
 9
                                        E-FILING ATTESTATION
10
                    I, Brian C. Rocca, am the ECF User whose ID and password are being used to file
11
     this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the
12
     signatories identified above has concurred in this filing.
13

14                                                                /s/ Brian C. Rocca
                                                                   Brian C. Rocca
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                        STIPULATION AND [PROPOSED] ORDER RE: DOCUMENTS GOOGLE
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 1   PURSUANT TO STIPULATION IT IS SO ORDERED.
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 3            9/23/2021
     Dated: ________________________________       ____________________________________
                                                   The Honorable James Donato
 4
                                                   United States District Judge
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                    STIPULATION AND [PROPOSED] ORDER RE: DOCUMENTS GOOGLE
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